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               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

                                              :
JOHN DOE,                                     :
                          Plaintiff,          :
                                              :
                   v.                         :
                                              : Civil Action No. 1:18-CV-553-RMC
THE GEORGE WASHINGTON                         :
UNIVERSITY,                                   :
                                              :
                          Defendant.          :
                                              :

                    REPLY IN SUPPORT OF DEFENDANT’S
                  MOTION TO DISMISS AMENDED COMPLAINT




Dated: November 9, 2018                /s/ Joshua W. B. Richards
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                                        INTRODUCTION

       As this case has progressed, it has become increasingly apparent that the parties are

arguing past one another. Plaintiff believes that this case is about relitigating the merits of the

complainant’s allegations against him – about proving his innocence and convincing the court

that what the hearing panel found happened on September 12, 2015 did not actually happen at

all. The university, on the other hand, understands the law to require that it follow its published

policies1 and refrain from unlawful discrimination on the basis of sex.              Those respective

positions are not reconcilable, so one of the parties is right about the scope of the Court’s review

and one of the parties is wrong.

       Because plaintiff’s well-pleaded factual allegations with respect to sex-based

discrimination and process are so thin, plaintiff has apparently calculated that he can keep his

case alive if he can just convince the Court that he is not a rapist. Plaintiff goes all in on this

argument, bookending his opposition with the opening assertion that since filing his complaint,

his “innocence [has] become[] even clearer,” and closing with a turn of phrase repeated from an

earlier brief – that “at some point, the truth has to matter.” Opp. at 1, 45. But the university

respectfully disagrees that the Court’s task in this case is to resolve the “truth” about Jane Roe’s

rape allegation. To the extent that it will, that resolution has already happened.

       The private student conduct process at issue in this case took place in front of three

university community members who sat face to face with Jane Roe and John Doe and listened to

their stories. Those panel members heard the evidence as presented by Mr. Doe (assisted by

counsel) and Ms. Roe. Indeed, much of this civil action so far has been about Mr. Doe seeking

to add to the record in a way that he did not at the hearing. To plaintiff’s point, though, the truth
1
 The university incorporates by reference here n.2 to its Memorandum of Law in Support of its
Motion to Dismiss (Doc. No. 46).
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did matter to those panel members. And after they considered all the facts presented by the

parties within the bounds of the university’s process, including Jane Roe’s unequivocal

allegation that she had not consented to sex, John Doe’s denial of that fact, several witnesses’

testimony about Jane Roe’s intoxication, and all the witnesses’ demeanors in presenting those

facts, they believed Jane Roe. Accord Doe v. Univ. of St. Thomas, 240 F. Supp. 3d 984, 990 (D.

Minn. 2017) (“Title IX is not an invitation for courts to second-guess disciplinary decisions of

colleges or universities.”) (citing Davis ex rel. LaShonda D. v. Monroe Cty. Bd. of Educ., 526

U.S. 629, 648–49 (1999)).

       Contrary to the implicit and explicit themes of plaintiff’s opposition, this civil action’s

purpose is not to repeat a student conduct proceeding as a full dress trial – to bring in each of the

witnesses to weigh their credibility, observe their body language, determine if they pause before

answering or look up or shift. Those are the things that the hearing panel has already done. Yet

again and again, plaintiff’s opposition returns to that idea: plaintiff “does not seek a do-over [at

GW] . . . what he seeks is a chance to vindicate himself in this Court, with the full array of

evidence to which he is entitled.” Opp. at 2.

       Plaintiff is not entitled to misuse this Court’s discovery authority to vindicate his personal

desire to try to prove his accuser a liar through claims against the university, and he is

particularly not entitled to do so where the facts alleged cannot support the legal theories he has

asserted. Plaintiff has sought and been denied a preliminary injunction. He has sought and been

awarded a new university appeal. That process has concluded, and plaintiff has received the

process he was due. This case is not a matter for the federal courts, and it is time for it to end.




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                                          ARGUMENT

       Mindful of this Court’s instructions on the record at the preliminary injunction hearing,

the university will reserve the lion’s share of its rebuttal for oral argument – it does not waive

such rebuttal not asserted here. The university raises three issues in this Reply to assist the Court

in clarifying the parties’ positions prior to argument. First, in contrast to the bravado of

plaintiff’s brief, his Title IX allegations are remarkably thin; he attempts to make up for that

shortcoming with volume, but he fails. Second, and relatedly, the cases plaintiff relies on from

other courts of appeals are not binding, and even if they were, they are not persuasive because

they too hold plaintiff to a pleading burden he has not satisfied. And third, the university’s

motion and brief made quite clear that the university seeks dismissal of Count III in its entirety.

          I.   Plaintiff still has not connected his generalized allegations of pressure to his
               own case, so his Title IX claim fails.

       To state a claim under an erroneous outcome theory, a plaintiff must assert facts

supporting a conclusion that the outcome of a disciplinary proceeding was motivated by

intentional gender bias against the plaintiff. Doe v. George Washington Univ., 305 F. Supp. 3d

126, 133 (D.D.C. 2018) (citing Yusuf v. Vassar Coll., 35 F.3d 709 (2d Cir. 1994)). “Sufficiently

particularized allegations of gender discrimination ‘might include, inter alia, statements by

members of the disciplinary tribunal, statements by pertinent university officials, or patterns of

decision-making that also tend to show the influence of gender.’” Doe v. Salisbury Univ., 123 F.

Supp. 3d 748, 766 (D. Md. 2015) (quoting Yusuf, 35 F.3d at 715).

       Plaintiff asserts that he “overwhelmingly states” a claim, but an “overwhelming” set of

allegations would include gendered comments made by the disciplinary panel, gendered

comments by university officials, and patterns of decision-making that showed that female

students accused of sexual assault were treated differently than similarly accused males.

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Plaintiff alleges no facts of these sorts, as he concedes. See Opp. at 23. Nor does plaintiff assert

a single fact that connects the adjudication of his discipline to his gender.        So plaintiff’s

allegations with respect to sex discrimination in his own case are certainly not overwhelming as

to substance, though perhaps they are as to sheer volume.

       The facts plaintiff asserts instead are the sort of generalized ones that could be cut and

pasted into a complaint against nearly any college or university in the country: (1) Prior

investigation by the Office of Civil Rights?2 True of over 500 colleges and universities.3

(2) Involvement in a Title IX litigation alleging gender discrimination? The case for dozens of

schools for active cases; hundreds for resolved cases. (3) Students protesting over civil rights

and the treatment of women on campus? It would be difficult to find a school where this was not

happening. Plaintiff alleges “on information and belief” that students found responsible for other

violations in other student conduct cases presided over by other panel members were male, but

alleges nothing about how similarly-situated female students fared.4

2
  In the amended complaint plaintiff contends that an investigation against the university is
pending. See Am. Compl. ¶ 58. That investigation was closed in July 2018 as a matter of public
record, and was accordingly not pending when the appeals panel denied plaintiff’s appeal
following the Court’s entry of partial summary judgment. See “Department of Education
concludes probe into GW’s handling of sexual misconduct cases,” GW Hatchet, Aug. 6, 2018,
available at https://www.gwhatchet.com/2018/08/06/department-of-education-concludes-probe-
into-gws-handling-of-sexual-misconduct-cases/. Plaintiff has consented to correct this error
through an amended pleading.
3
  See Chronicle of Higher Education, “Tracking Sexual Assault Investigations,” available at
https://projects.chronicle.com/titleix/ (accessed Nov. 7, 2018).
4
  Absent from plaintiff’s complaint, and notably present in the Doe v. Miami University case
relied upon by plaintiff on page 28 of his opposition, are particularized allegations that the
university treats similarly situated women differently than men. Title IX is, after all, a statute
that prohibits disparate treatment on the basis of sex. In Miami, the plaintiff “incorporated an
affidavit from an attorney who represents many students in Miami University’s disciplinary
proceedings, which describes a pattern of the University pursuing investigations concerning
male students, but not female students.” See 882 F.3d 579, 593 (6th Cir. 2018) (emphasis
added).

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       And yet, plaintiff’s theory is that when taken all together, these sorts of allegations are

enough to support a plausible claim that the university intentionally discriminated against him on

the basis of his gender – i.e. that in his particular hearing, plaintiff was treated differently than a

woman accused of the same things would have been. If plaintiff’s formulation is correct, then

there is no pleading standard to speak of at all – no gatekeeping function of Rule 12 in Title IX

cases. There is instead merely a set of rote allegations pertaining to public pressure that are

readymade for every case. But that is not what Yusuf says. It says “particularized allegations” of

“intentional gender discrimination.” 35 F.3d at 709, 715.

       The authority outside this district and circuit cuts a wide swath in this area of the law,

which continues to evolve and form new splits in authority. Plaintiff of course cites the cases

setting the lowest bar. But many of the cases he cites, including the cases in the courts of

appeals, make clear that he has not stated a claim. The better reasoned opinions, which this

Court should both find persuasive and adopt, hold that the alleged pressure must be directly

connected to bias in the plaintiff’s own case because general pressure to investigate sexual

assault says nothing about gender. See, e.g., Doe v. Univ. of Colorado, Boulder through Bd. of

Regents of Univ. of Colorado, 255 F. Supp. 3d 1064, 1078 (D. Colo. 2017); see also Def. Memo

(Doc. No. 46) at 7 (collecting cases). Plaintiff contends in his brief the cases cited by the

university do no stand for that proposition, but the language is plain:

               [P]ressure from the federal government to investigate sexual
               assault allegations more aggressively—either general pressure
               exerted by the Dear Colleague Letter or specific pressure exerted
               by an investigation directed at the University, or both—says
               nothing about the University’s alleged desire to find men
               responsible because they are men.

Univ. of Colo., 255 F. Supp. 3d at 1078 (emphasis added); see also Rossley v. Drake Univ., -- F.

Supp. 3d. --, No. 4:16-cv-00623-RGE, 2018 WL 5307615 at *19 (S.D. Iowa, Oct. 12, 2018)

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(collecting cases and observing that “courts have not found [the] argument persuasive” that

generic Dear Colleague Letter and OCR pressure was sufficient to support erroneous outcome

claim); c.f. Haidak v. Univ. of Mass. at Amherst, 299 F. Supp. 3d 242, 269 (D. Mass. 2018)

(holding on summary judgment that plaintiff’s erroneous outcome theory failed because “[e]ven

if the Hearing Board erred, the record is entirely devoid of proof demonstrating that gender bias

in any way drove the Board’s mistake.”)

        Plaintiff has not stated a claim here for the simple reason that none of his allegations

create any nexus with the hearing or outcome in his case – none of them demonstrate that the

university community members who heard John Doe’s and Jane Roe’s testimony, along with

several other witnesses’ – would have found differently if Doe had been a woman. Getting

through by merely alleging a generic set of conditions true at any college in the country and then

trying to find something to connect it to his proceeding in discovery turns the standard on its

head.

         II.   Doe v. Baum, Doe v. Miami University, and Doe v. Columbia neither control
               nor are persuasive.

        As noted above, the cases relied upon by plaintiff – Doe v. Baum, Doe v. Miami

University, and Doe v. Columbia – are all readily distinguishable, and, in any event, not binding

on this Court. In Baum, for instance, the Sixth Circuit explicitly held, as the university explained

above, that “all of this external pressure alone is not enough to state a claim that the university

acted with bias in this particular case. Rather, it provides a backdrop that, when combined with

other circumstantial evidence of bias in Doe’s specific proceeding, gives rise to a plausible

claim.” 903 F.3d at 586 (emphasis added). The “evidence of bias in Doe’s specific proceeding”

in Baum was that the panel had credited exclusively female testimony, while discounting male

testimony. Id. Whether that formulation is persuasive and correct as a legal matter is a question

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that may be left for another day, since gender-based dichotomy is not present here, and plaintiff

does not allege that it is. Nor was the determination in plaintiff’s case made “on a cold record,”

as it was in Baum. Id. To the contrary, the credibility determination in Jane Roe’s favor was

made based on live testimony in the panel’s presence. So not only does Baum do nothing to

advance plaintiff’s argument, it actually sets a standard that plaintiff cannot satisfy by requiring

precisely the sort of proceeding-specific allegations that plaintiff has failed to make.

        Miami University does not help plaintiff either. As noted in n.3, supra, in that case there

were specific allegations, supported with affidavits and central to the Court’s analysis, that the

university treated similarly-situated women differently.        See 882 F.3d at 593.       Disparate

treatment of similarly-situated students on the basis of sex may show that sex is a motivating

factor in the outcome, so one can understand why Miami was decided as it was. Its holding has

little to do with plaintiff’s allegations here.

         Finally, Doe v. Columbia, 831 F.3d 46 (2d Cir. 2016) is inapposite because it adopted a

relaxed pleading standard for Title IX claims – a “temporary presumption” – that many courts

have found irreconcilable with Twombly and Iqbal.           The Columbia standard has not been

adopted by the D.C. Circuit, and it has been explicitly rejected by numerous other courts since

Columbia was decided. See e.g. Doe v. Miami Univ., 882 F.3d at 589 (declining to follow

Columbia); Doe v. Marymount Univ., 297 F. Supp. 3d 573, 581 (E.D. Va. 2018) (declining to

follow Columbia and predicting the Fourth Circuit would also so hold); Austin v. Univ. of

Oregon, 205 F. Supp. 3d 1214(D. Or. 2016) (declining to follow); Doe v. Coll. of Wooster, 243

F. Supp. 3d 875, 887 (N.D. Ohio 2017) (citing Austin and declining to follow Columbia). To the

extent that Columbia applied a lesser standard in considering whether a claim had been stated, it

is inconsistent with Supreme Court precedent and not persuasive here.



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       But even without resolving courts’ disagreement with Columbia, it does not help plaintiff

either because even Columbia required that the plaintiff demonstrate facts about his own hearing

– apart from the outcome – that showed gender bias. See 831 F.3d at 57. There, the plaintiff

alleged that the investigator “declined even to explore the testimony of Plaintiff’s witnesses” in

the ordinary course of the investigation. Id. It merits some consideration that the Columbia

court, in so finding, essentially collapsed the prongs of Yusuf – finding that the basis for the fact

that the outcome was “erroneous” was also the reason it was plausibly discriminatory. But that

question need not be resolved here either because plaintiff in this case does not allege any

comparable facts. He does not contend that any witness he asked to have present at the hearing

was excluded, or that the university declined to interview any witness he suggested. He argues

only that the university should have done things he never asked it to do and that the panel

members should have found his story more credible.

       Indeed, to read the complaint is to conclude that the investigation and hearing process

themselves went precisely as laid out in the Code – plaintiff’s first actual procedural gripe arises

with the appeal, and that has been resolved and mooted. At best plaintiff argues that the

university should have gathered more evidence from the parties that he himself did not ask for,

despite being represented by counsel. Moreover, the university had no way of knowing whether

the evidence gathered would benefit Roe or Doe.5 It is hard to understand how, having not been

asked by any party to do so, and not knowing the content, not gathering phone records is

plausible evidence of sex discrimination. This does not meet even the erroneously-low standard




5
  As it turns out, the phone records tend to show that Doe was not truthful with the hearing panel
about what transpired in the course of going to his apartment with Roe, though the university
could not have known that at the time.

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set by Columbia, and it certainly does not constitute “particularized evidence” of “intentional

gender discrimination.”

        III.    The university has moved to dismiss Count III in its entirety.

        Plaintiff does not assert different counts in his complaint related to varying theories upon

which he seeks relief for breach of contract. The complaint instead sets forth a single count for

breach of contract. See Am. Compl. at Count III. Notwithstanding the university’s plain

statements that (a) “Count III . . . fail[s] to allege terms of the alleged contract that were

breached,” Def. Mot. at 1 (Doc No. 46) and (b) because plaintiff has not identified “any specific

contractual obligations the university had but failed to perform, his claim fails,” plaintiff

contends he was not fairly on notice that the university was moving to dismiss all grounds for

breach of contract. This is an argument almost too silly to address, but in an abundance of

caution, the university clarifies explicitly here that it did move to dismiss Count III in its entirety.

        The theories plaintiff raises – argument that the investigation was not “adequate, reliable,

and impartial” – are patently insufficient to state a claim for breach of contract because they do

not turn on a concrete and measurable contractual term – they turn on generalized terms that are

defined by the specific terms that follow them. See, e.g., Doe v. The Trustees of the Univ. of

Pennsylvania., 270 F. Supp. 3d 799, 814 (E.D. Pa. 2017) (“the contractual promise to provide a

‘fair and impartial’ hearing cannot be interpreted without reference to the entirety of the hearing

procedures set forth in the Disciplinary Procedures.”). Likewise, plaintiff’s theory with respect

to plaintiff’s own disciplinary action filed against Jane Roe does not approach plausibility; like

his complaints of sex discrimination, plaintiff merely describes an event he does not like as

“retaliation.” He concedes that his report was investigated and an outcome was reached. He

does not allege any facts that support the conclusion that the university breached its policy when



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it concluded that there was insufficient basis to determine that any evidence provided by Jane

Roe was not “knowingly” false (particularly here, where the complaint demonstrates that Roe

has maintained that she was heavily intoxicated on the night in question).

                                        CONCLUSION

       If plaintiff’s right to relief were “overwhelming,” Opp. at 23, 27, “amply” demonstrated,

id. at 24, and “plain,” id. at 33, then he would not need a forty-five page brief to show it. Like

his three-hundred-plus paragraph complaint and his purely generalized allegations of bias,

volume cannot substitute for sufficiency. None of plaintiff’s theories stray far from the core

argument: the university reached an outcome plaintiff does not like, so he wants this Court to

rehear, and adopt, his defense despite being provided precisely the process he was due. Plaintiff

has not shown that the university breached any duty it owed him, and this civil action is not an

appeal or a re-adjudication on the merits no matter how much plaintiff would like it to be.

       In light of proceedings that have transpired already before the Court and plaintiff’s

multiple opportunities to plead, brief, and argue his claims, the Court should dismiss all of

plaintiff’s claims with prejudice.

                                             SAUL EWING ARNSTEIN & LEHR LLP

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                          CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing DEFENDANT THE GEORGE

WASHINGTON UNIVERSITY’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

PLAINTIFF’S AMENDED COMPLAINT was served today via the Court’s ECF filing

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